             Case 4:22-md-03047-YGR Document 346 Filed 08/05/23 Page 1 of 1



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                                                                             FILED
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 4                                                                             Aug 05 2023

 5                                                                         Mark B. Busby
                                                                     CLERK, U.S. DISTRICT COURT
 6
                                                                  NORTHERN DISTRICT OF CALIFORNIA
 7                                                                        SAN FRANCISCO
 8
                                 UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
10

11
      IN RE: SOCIAL MEDIA ADOLESCENT                                MDL No. 3047
12    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION                                          Case No. 4:22-md-03047-YGR
13
      THIS FILING RELATES TO:                                       Honorable Thomas S. Hixson
14
      ALL ACTIONS                                                   [PROPOSED] ORDER GRANTING
15                                                                  STIPULATED REQUEST TO CONTINUE
                                                                    FURTHER HEARING ON
16
                                                                    PRESERVATION ORDER
17          Pursuant to the parties' stipulation, the August 7, 2023 hearing on the Parties' disputes over a
18   preservation order is continued to August 29, 2023 .
19          PURSUANT TO STIPULATION, IT IS SO ORDERED.
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22    DATED:       August 4, 2023
                                                                Hon. Thomas S. Hixson
23                                                              United States Magistrate Judge

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           [PROPOSED] ORDER GRANTING STIPULATED REQUEST TO CONTINUE FURTHER HEARING ON PRESERVATION ORDER
                                                   4:22-md-03047-YGR
